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            ORAL ARGUMENT NOT YET SCHEDULED

                             No. 25-1051


          IN THE UNITED STATES COURT OF APPEALS
           FOR THE DISTRICT OF COLUMBIA CIRCUIT


                COMPETITIVE CARRIERS ASSOCIATION,
                                         Petitioner,

                                   v.

               FEDERAL COMMUNICATIONS COMMISSION
                  and UNITED STATES OF AMERICA,
                                         Respondents.


                 On Petition for Review of an Order of
               the Federal Communications Commission


RESPONDENT FEDERAL COMMUNICATIONS COMMISSION’S
         CONSENT MOTION FOR ABEYANCE


     Respondent Federal Communications Commission respectfully

moves to place this case in abeyance pending Commission action on

petitions for agency reconsideration of the same agency order challenged

here. We are authorized to represent that all parties consent to this

motion.

     1. The petition for review in this case seeks review of an FCC order

setting eligibility criteria and other parameters for a proposed subsidy
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program, known as 5G Fund Phase I, to support 5G wireless service in

rural areas. See Establishing a 5G Fund for Rural America, FCC 24-89,

39 FCC Rcd. ---, 2024 WL 4005762 (rel. Aug. 29, 2024) (Order). Those

criteria will be used to allocate and award subsidies through a reverse

auction that will be conducted at a future date to be determined after

additional agency proceedings are completed.

     When the Order was adopted in August 2024, then-Commissioner

Carr—who is now the Chairman of the Commission—dissented.               He

maintained that, “[a]s a threshold matter,” the Commission should not

decide to allocate new or additional subsidies through the 5G Fund

without knowing the results of a parallel grant program established by

Congress, known as the Broadband Equity, Access, and Deployment

(BEAD) program, 47 U.S.C. § 1702. See Order, 2024 WL 4005762, at

*93–95 (dissenting statement of Comm’r Carr).

     2. Petitioner Competitive Carriers Association states in its

petition for review that it intends to challenge various aspects of the

Order, including the Commission’s decision to make 5G Fund eligibility

determinations before the results of BEAD funding are known.

Petitioner has also indicated it may challenge the 5G Fund’s overall

program budget, the speed threshold the Commission selected for

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determining areas eligible for subsidies, and the wireless coverage data

used to identify areas that are eligible under that speed threshold. See

Pet. for Review at 2–3.

      3. In parallel with the petition for judicial review here, the

Commission received two petitions for agency reconsideration of the

Order that substantially overlap with the petition for review in this case;

they ask the Commission to reconsider the same issues that Petitioner

intends to raise here. See Pet. for Recon. of Rural Wireless Ass’n, Inc.,

GN Dkt. No. 20-32 (FCC filed Jan. 10, 2025); 1 Pet. for Recon. of Coal. of

Rural Wireless Carriers, GN Dkt. No. 20-32 (FCC filed Jan. 13, 2025).2

Under 47 C.F.R. § 1.429(e), the Commission has issued a public notice

(which will be published in the Federal Register) seeking public comment

on the petitions for reconsideration. See Pub. Notice, Pets. for Recon. of

Action in Proceeding, DA 25-172, 2025 WL 658731 (FCC Feb. 26, 2025).

      4. This Court’s usual practice is to hold judicial proceedings in

abeyance when overlapping petitions for administrative reconsideration




1
    Available at https://www.fcc.gov/ecfs/filing/101102590811409.
2
    Available at https://www.fcc.gov/ecfs/filing/101140586723392.

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have been filed. 3 The Court should follow that practice here. If the

Commission were to grant the petitions for reconsideration in whole or

in part, that decision could render moot or significantly alter the issues

raised by the petition for review in this case. It would therefore be “the

proper course”—and would serve judicial economy and protect the

interests of the parties—“to hold th[is] appeal in abeyance pending the

Commission’s further proceedings[.]” Wrather-Alvarez Broad., Inc. v.

FCC, 248 F.2d 646, 649 (D.C. Cir. 1957); see also Am. Petrol. Inst. v. EPA,

683 F.3d 382, 386–89 (D.C. Cir. 2012).

      Holding this case in abeyance would also conserve resources by

deferring the filing of the administrative record, which is currently due

on March 24. The record in this matter is voluminous, consisting of more

than 3,300 filings.   The ongoing administrative proceedings on the

petitions for reconsideration could significantly alter or expand the

administrative record, or could potentially resolve or render this case



3
    See, e.g., Cal. Pub. Utils. Comm’n v. FCC, No. 21-1016 (order issued
    Apr. 8, 2021); Twenty-First Century Fox, Inc. v. FCC, No. 16-1375
    (order issued Dec. 21, 2016); U.S. Telecom Ass’n v. FCC, No. 15-1322
    (order issued Jan. 14, 2016); Sprint Nextel Corp. v. FCC, No. 06-1278
    (order issued Dec. 6, 2006); EchoStar Satellite LLC v. FCC, No. 04-
    1033 (order issued June 7, 2004); Northpoint Tech., Ltd. v. FCC, No.
    02-1194 (order issued Aug. 29, 2002).

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moot.     Compiling the full administrative record at this time would

therefore be an inefficient use of agency resources that can be conserved

through abeyance.

        5. If the Court grants this motion and places this case in abeyance,

the Commission proposes to file periodic status reports at 90-day

intervals and to promptly notify the Court upon completion of agency

proceedings on the petitions for reconsideration. All parties reserve the

right to move for the Court to lift abeyance and return the case to the

active docket should circumstances warrant.

        6. Counsel for the Commission have conferred with counsel for

Petitioner Competitive Carriers Association and counsel for co-

Respondent United States of America, and we are authorized to state

that all parties consent to this motion.

                                *     *     *




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     For the foregoing reasons, the Court should grant this motion and

place this case in abeyance pending Commission action on the petitions

for agency reconsideration.


Dated: March 10, 2025              Respectfully submitted,

                                   /s/ Scott M. Noveck

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                                 /s/ Scott M. Noveck
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